                   Case 24-33095 Document 76 Filed in TXSB on 12/09/24 Page 1 of 2


                                            IN THE UNITED STATES BANKRUPTCY COURT
                                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                                       HOUSTON DIVISION

In re:                                                                                         §
Moise Arrah                                                                                    § CASE NO. 24-33095-H4-13
       Debtor                                                                                  §      Chapter 13

                             CHAPTER 13 TRUSTEE’S OBJECTION TO CONFIRMATION

              David G. Peake, Chapter 13 Trustee, Objects to Confirmation of Debtor’s Plan for the following

reasons and upon the following grounds:

              1.             Debtor’s plan is not feasible. Debtor does not appear to have sufficient income to

support the proposed plan payments. Specifically, the Debtor has proposed step up plan payments with

no apparent ability to fund the increased plan payments.

              2.             Debtor’s Plan does not comply with 11 U.S.C. § 1325(a)(3).

              Wherefore, the Trustee requests the Court to deny confirmation of Debtor’s plan, and to grant

him such other and further relief to which he may be entitled.

                                                                        Respectfully submitted,

                                                                        David G. Peake, Chapter 13 Trustee

                                                                        By:            /s/ Richard W. Aurich, Jr. / TX Bar No. 00792339
                                                                                       9660 Hillcroft, Suite 430
                                                                                       Houston, TX 77096
                                                                                       713-283-5400
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                                                                                       Attorney for David G. Peake, Chapter 13 Trustee




Objection to Confirmation                                                                                                                 Page 1
E:\Documents\A New Docs\2024\2433095 arrah\2433095 arrah objection to confirmation feasibility step pmts.wpd
                   Case 24-33095 Document 76 Filed in TXSB on 12/09/24 Page 2 of 2



                                                                 CERTIFICATE OF SERVICE

        A copy of the above Objection to Confirmation was served on or about December 10, 2024, as
indicated upon the following:

Moise Arrah                                                             US Mail
19218 West Austin Bayou Ct.
Cypress, TX 77433

James T. Ferguson                                                       CM/ECF electronic delivery (12/9/2024)
1 Riverway, Ste 1700
Houston, TX 77056



                                                                                                 /s/ Richard W. Aurich, Jr.




Objection to Confirmation                                                                                                     Page 2
E:\Documents\A New Docs\2024\2433095 arrah\2433095 arrah objection to confirmation feasibility step pmts.wpd
